                      UNITED  STATES Document:
                      Case: 25-1555  COURT OF16APPEALS
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                                                                       04/12/2025

                                                    No. 25-1555

                           Atlas Data Privacy Corp. et al.    vs. We Inform, LLC et al.

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 Please OLVWthe names of all parties represented, using additional sheet(s) if necessary:

 Attorney General of New Jersey
Indicate the party’s role IN THIS COURT (check only one):

         ____ Petitioner(s)                ____ Appellant(s)                 ✔ Intervenor(s)
                                                                            ____

         ____ Respondent(s)                ____ Appellee(s)                 ____ Amicus Curiae

(Type or Print) CounseO’s Name Michael L. Zuckerman
                                ________________________________________________________________
                                     ✔ Mr.
                                   ____        ____ Ms.    ____ Mrs. ____ Miss ____ Mx.

Firm Office of the New Jersey Attorney General

Address RJ Hughes Justice Complex, 25 Market Street, P.O. Box 080

City, State, Zip Code Trenton, New Jersey 08625

Phone 609-789-8684                                                   Fax 609-292-3508

Primary E-Mail Address (required) Michael.Zuckerman@njoag.gov
Additional E-Mail Address (1) OSG@njoag.gov
Additional E-Mail Address (2)
Additional E-Mail Address (3)

If your organization has created a common or general email address for purposes of receiving
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SIGNATURE OF COUNSEL: /s/ Michael L. Zuckerman

COUNSEL WHO FAIL TO FILE AN ENTRY OF APPEARANCE WILL NOT BE ENTITLED TO RECEIVE
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ATTORNEYS WHO ARE MEMBERS OF THIS COURT’S BAR OR WHO HAVE SUBMITTED A
PROPERLY COMPLETED APPLICATION FOR ADMISSION MAY FILE AN APPEARANCE FORM.

A non-government attorney who is not currently in active status will be required to file the Attorney
Admission Renewal /Adjustment of Status Form in order to proceed with the case. Bar admission is
waived for Federal and Virgin Island government attorneys.

REV. 
